Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 1 of 24




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  MEGAN PETE, an individual

  Plaintiff,                                            Civil Action No. 1:24-cv-24228

  v.

  MILAGRO ELIZABETH COOPER,
  an individual,
                                                        JURY TRIAL DEMANDED
  Defendant.
  ____________________________________

          Plaintiff Megan Pete hereby files this action (hereinafter, (the “Complaint”)) against

  Milagro Elizabeth Cooper (“Defendant”). Ms. Pete alleges the following facts, upon her own

  knowledge and upon information and belief:

                                        NATURE OF THE ACTION

          1.     For years, Defendant Cooper acted, and continues to act, on behalf of Daystar

  Peterson (also known as Tory Lanez) as an online rumor mill churning out falsehoods about Ms.

  Pete to her tens of thousands of social media followers. Since Mr. Peterson’s 2020 indictment for

  felony assault with a deadly weapon after shooting Ms. Pete, to his later conviction in December

  2022 (the “Trial”), up through today, Defendant Cooper performed Mr. Peterson’s public bidding

  to denigrate, belittle, insult, and spread false statements about Ms. Pete on her online social media

  platforms, for no other reason than to bully, harass and punish Ms. Pete for Mr. Peterson’s

  conviction and to tarnish her reputation, causing emotional distress.

          2.     The lengths to which Defendant Cooper goes to harass Ms. Pete knows no bounds.

  For example, she has gone so far as to share a deepfake pornographic video of Ms. Pete. In June

  2024, Defendant Cooper encouraged her 27,000 X followers to view an X post by Bimbella that
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 2 of 24




  shared a doctored, artificially created video of Ms. Pete purportedly engaged in sexual acts without

  Ms. Pete’s knowledge or consent. After Defendant’s conduct led to a firestorm of negative

  reaction from others, Defendant doubled-down in a YouTube video on June 9, 2024, claiming Ms.

  Pete was a “professional victim” and denying any wrongdoing. But Defendant is wrong—her

  conduct was an unlawful promotion of an altered sexual depiction and caused Ms. Pete severe

  emotional distress and reputational harm.

         3.      In another instance on September 2, 2024, Defendant Cooper accused Ms. Pete of

  having “a severe drinking problem” who “needs to spend more time in a relationship with herself

  and her therapist and maybe AA.” Defendant has no personal relationship with Ms. Pete and had

  no basis to make such outlandish and false claims.

         4.      In yet another instance on July 30, 2024, Defendant Cooper went so far as to cast

  doubt on Ms. Pete’s “mental status,” asking her followers if Ms. Pete “ha[s] a guardian or no?”

  and whether Ms. Pete has “ever been deemed, like legally retarded?”

         5.      Defendant’s low blows did not stop there. Defendant consistently resorted to name

  calling Ms. Pete, characterizing her as an “angry black woman” and a “lying ass hoe” during her

  online livestreams.

         6.      Additionally, in or around June 29, 2024, Defendant tried to pull information on

  Ms. Pete’s father in an attempt to publish private information about her family and cause damage

  to Ms. Pete’s reputation.

         7.      Ms. Pete has repeatedly tried to stop Defendant Cooper’s misconduct and asked

  what it would take to stop being posted on Defendant’s platforms. In response, Defendant provided

  the snide advice that Ms. Pete should “just get over it, or go away.”




                                                   2
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 3 of 24




         8.      Defendant Cooper also made numerous false statements about Ms. Pete regarding

  Mr. Peterson and the Trial. Defendant’s conspiratorial relationship with Mr. Peterson is troubling.

  Defendant acts as a paid surrogate used to spread Mr. Peterson’s lies about Ms. Pete.

         9.      For example, on October 27, 2024, Defendant Cooper falsely claimed that the

  firearm Mr. Peterson used to shoot Ms. Pete was not produced during the Trial because it was

  missing. That is not the case. The firearm remains in the custody of the Los Angeles Police

  Department. Defendant Cooper could have easily verified this information, but instead chose to

  ignore it and spread lies about the integrity of the Trial and related investigation.

         10.     Additionally, Defendant Cooper spread the false rumor that Mr. Peterson did not

  shoot Ms. Pete, even after a unanimous jury of Mr. Peterson’s peers decided otherwise. For

  instance, on October 28, 2024, Defendant Cooper posted a video on her X account directed at Ms.

  Pete and asked, “can you even prove that you was shot?” The State did prove that fact, and Mr.

  Peterson is currently serving a 10-year sentence for it.

         11.     In May 2022, Defendant posted an image of a Los Angeles Police Department

  report from Mr. Peterson’s arrest stating that the first doctor to see Ms. Pete “confirmed laceration

  due to stepping on glass,” not a firearm wound. However, the information from the police report

  was recorded before bullet fragments were discovered in Ms. Pete’s feet during surgery, which

  completely debunked Defendant’s post. That did not stop bloggers from picking up on Defendant’s

  post and spreading the misinformation.

         12.     Defendant also attended the Trial and livestreamed her falsehoods during hearings.

  Defendant’s posts consistently spread misinformation challenging the stories of witnesses and their

  credibility while sharing their names online, amounting to witness intimidation.

         13.     During the Trial, Defendant posted the following Tweets:



                                                    3
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 4 of 24




                                       4
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 5 of 24




         14.     More recently, after posting about a lawsuit a former videographer filed against

  Ms. Pete in April 2024 and Ms. Pete’s motions to dismiss, Defendant also falsely claimed that

  Ms. Pete was “caught trying to deceive the courts again,” referencing her testimony in the Trial.

         15.     Enough is enough. Ms. Pete—a victim of violent crime and champion of women’s

  rights to her millions of fans worldwide—will no longer stand for Defendant’s campaign of

  harassment. She brings this Complaint for damages and equitable relief to end Defendant Cooper’s

  vendetta against her.




                                                  5
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 6 of 24




  II.     THE PARTIES

          A.     The Plaintiff

          16.    Megan Pete, a performance artist also known as Megan Thee Stallion, is a citizen

  of Florida who permanently resides in Miami, Florida.

          B.     The Defendant

          17.    Milagro Elizabeth Cooper, also known as Milagro Gramz, is a citizen of Texas

  who permanently resides in Houston, Texas.

  III.    JURISDICTION AND VENUE

          18.    This Court has subject-matter jurisdiction over the state law claims alleged herein

  under 28 U.S.C. § 1332, because there is complete diversity between the parties, and the amount

  in controversy exceeds the sum of $75,000 exclusive of interest and costs.

          19.    Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §

  1391(b)(2), because a substantial part of the events giving rise to this complaint occurred in this

  District.

          20.    This Court has personal jurisdiction over Defendant Cooper pursuant to the Florida

  Long-Arm Statute, Section 48.193, Florida Statute, because she (a) committed tortious acts within

  the State of Florida; and (b) caused Ms. Pete to suffer injury in Florida. Additionally, Defendant

  Cooper (a) committed tortious acts outside the state; (b) while engaged in solicitation and service

  activities within the state; and (c) caused Ms. Pete to suffer injury in Florida.




                                                    6
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 7 of 24




  IV.    FACTUAL ALLEGATIONS

         A.         Defendant Is A Malicious Actor That Operates Social Media Accounts That
                    Spread False And Harassing Content

         21.        Defendant Cooper is a well-known online social media grifter who traffics in false

  and sensationalist narratives.

         22.        Defendant controls and operates an X (formerly Twitter) account under the

  screenname @MobzWorld; Instagram and TikTok accounts under the username @milagrogramz;

  and a YouTube account under the screenname @MobRadio (collectively, the “Social Media

  Accounts”). Defendant has the power to determine the subject matter and specific content that is

  published on her Social Media Accounts, and to remove or refrain from publishing content if she

  chooses. Defendant is the sole writer and/or editor of every post on her Social Media Accounts.

         23.        On information and belief, Defendant Cooper deployed, and continues to deploy,

  fake bot accounts on her Social Media Accounts to attack any social media users who defend Ms.

  Pete or criticize Defendant’s characterizations of Ms. Pete.

         B.         Defendant Engaged In A Years-Long Campaign of Harassment Against Ms.
                    Pete

         24.        Throughout Mr. Peterson’s Trial and through today, Defendant Cooper has engaged

  in a campaign of harassment on behalf of Mr. Peterson to spread false and harassing messages

  about Ms. Pete on her Social Media Accounts based on her close relationship with Mr. Peterson

  and his father.

         25.        In June 2024, a deepfake video purporting to show an artificially created version of

  Ms. Pete engaging in sexually explicit acts circulated on the internet (the “Deepfake Video”).

         26.        It is unknown who created the Deepfake Video. Ms. Pete had no knowledge of, or

  involvement in the creation or distribution of the Deepfake Video, nor did she consent to or

  authorize the creation or distribution of the Deepfake Video.

                                                     7
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 8 of 24




         27.     On or about June 8, 2024, Defendant Cooper published on her X account a post that

  encouraged her followers to watch the Deepfake Video. As reported by news publication Uproxx,

  Milagro “encouraged users to check [the Deepfake Video] out.”1 Numerous individuals followed

  her advice and accessed the video from Defendant Cooper’s X page.

         28.     On June 9, 2024, Defendant Cooper published a video on her YouTube account

  that addressed her X post related to the Deepfake Video. 2

         29.     In the YouTube post, Defendant shared an image of Ms. Pete over a news chyron

  that questioned whether Ms. Pete is “[a] professional victim.” A true and correct copy of the

  screenshot of the image is below.




         30.     Defendant then shared a screenshot of an X post dated June 8, 2024 that directed

  her followers to “[g]o to my likes.” A true and correct copy of the screenshot of the image is below.




         1
             https://uproxx.com/music/megan-thee-stallion-ai-sex-tape-response/
         2
             https://youtu.be/FUUzzmSNWIQ?si=aGv89UlmII2BcMlE

                                                   8
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 9 of 24




         31.    Defendant’s “Likes” page included a post that promoted, transmitted, posted,

  and/or shared a publication of the Deepfake Video, and thus provided her followers access to the

  Deepfake Video.

         32.    Defendant Cooper affirmed this in her YouTube post. She stated that she “told

  whoever follows me on social media to go to my likes to see what it is that we're discussing”,

  which confirmed that she encouraged her followers to watch the Deepfake Video.



                                                 9
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 10 of 24




         33.       Most recently, on October 27, 2024, Defendant Cooper made the false and

  outlandish claim that the firearm Mr. Peterson used to shoot Ms. Pete had gone missing. Defendant

  Cooper Tweeted: “Didn’t I tell y’all tht the gun was never presented in court and tht ain’t make no

  damn sense? They gave the serial number and breezed past it. Liiike, first off whose is it?? Origin

  point please.”




         34.       Defendant Cooper’s statements recklessly disregarded the truth and suggested that

  the firearm was never presented in court because it had allegedly disappeared. It has not. The

  firearm remains in the custody of the Los Angeles Police Department. It is standard procedure in


                                                  10
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 11 of 24




  California criminal cases to show an image of the firearm in question rather than present the

  firearm in court. Defendant Cooper could have easily verified this information but chose to ignore

  it and instead promulgated lies about the integrity of the Trial and related investigation.

         35.     On October 28, 2024, notwithstanding that a jury of Mr. Peterson’s peers found

  him guilty of shooting Ms. Pete in December 2022, Defendant Cooper reposted a video of herself

  where she discussed the Trial on her X account. In the video, Defendant Cooper asks Ms. Pete,

  “Can you even prove that you was shot?”3

         36.     On October 5, 2024, Defendant Cooper posted on her X account, “Milagro, stop

  talking about the case. We’ve moved on. Every time they lie, ima make y’all cry.”4 The “they”

  Defendant Cooper referred to is Ms. Pete and her supporters.




         3
             https://x.com/MobzWorld/status/1851068034229956698
         4
             https://x.com/MobzWorld/status/1842551006078415155

                                                   11
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 12 of 24




  Defendant Cooper also commented in a follow-up post, “& if y’all believe her why is, ‘who shot

  Megan?’ a question that’s being posed? Y’all so timid, speak up.”5

         37.        Defendant Cooper also reposted an online petition on September 15, 2024, that

  encouraged her followers to sign the petition to free Mr. Peterson from prison “citing exculpatory

  evidence,” when there is none.6




         38.        On September 2, 2024, Defendant Cooper reposted a video in which a talk show

  host stated, “Megan allegedly still has a severe drinking problem. From what I’ve heard… I think

  she needs to spend more time in a relationship with herself and her therapist and maybe AA.”7

         39.        Defendant Cooper’s obsessive posts about Ms. Pete continued in August 2024,

  when she posted a Tweet asking if “Megan Thee Stallion [was] caught trying to deceive the

  courts again.”8


         5
             https://x.com/MobzWorld/status/1842551006078415155
         6
             https://x.com/MobzWorld/status/1835314764307648891
         7
             https://x.com/MobzWorld/status/1830690681959952446
         8
             https://x.com/MobzWorld/status/1821131325736194328

                                                  12
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 13 of 24




           40.      Defendant continued to spew false statements and narratives about Ms. Pete. On

  July 30, 2024, Defendant Cooper posted a podcast-style video on X, in which she states, “What is

  Megan’s mental status? Does she have a guardian or not? Has she been listed as a capable person?

  Has she ever been deemed, like, legally retarded? Like anything of the nature? Anything of the

  sort?”

           41.      On December 24, 2023, Defendant Cooper posted the following statement on X:




           42.      On June 22, 2023, X user account @holidayholidayK shared audio of Defendant

  Cooper calling Ms. Pete a “lying ass hoe,” and claiming that Ms. Pete “ruined Tory Lanez’ life.”

  Defendant Cooper liked the post.9

           43.      Even Defendant Cooper’s former friend, King Noir, exposed her for working

  alongside Mr. Peterson to smear Ms. Pete’s reputation. King Noir also noted that Defendant

  Cooper has “a disdain for Megan” and that she “talks to Tory’s daddy” in an effort to leak

  information to the press that comes from Mr. Peterson himself.10


           9
                https://x.com/holidayholidayK/status/1671979971953172492?s=20
           10
             https://thesource.com/2022/07/27/former-friend-of-milagro-gramz-blasts-her-for-
  allegedly-working-with-tory-lanez-in-smear-efforts-against-megan-thee-stallion/

                                                  13
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 14 of 24




         44.     Another example of Defendant Cooper’s reckless disregard for the truth is a May

  2022 post on her X account, when Defendant Cooper posted an image of a Los Angeles Police

  Department report from Mr. Peterson’s arrest stating that the first doctor to see Ms. Pete

  “confirmed laceration due to stepping on glass,” not a firearm wound.

         45.     However, the information from the police report was recorded before bullet

  fragments were discovered in Ms. Pete’s feet during surgery, which completely debunked

  Defendant’s post.

         46.     Nonetheless, bloggers and podcasters like DJ Akademiks presented Defendant’s

  post alongside conspiracy theories that Ms. Pete was never shot. Rather than retract the false story,

  Defendant doubled-down to NBC News, stating “everything is not going to be something that was

  intended to be a factual statement . . . [i]t might have a comedic effect.”11

         47.     Defendant Cooper also doubled-down on her falsehoods throughout the Trial;

  indeed, she traveled from Houston, Texas, to Los Angeles to attend the court proceedings and

  livestreamed her skewed take on the criminal proceedings daily to her online followers. Defendant

  Cooper consistently denigrated witnesses called by the State, including in the below examples of

  Defendant’s posts:




         11
              https://www.nbcnews.com/news/nbcblk/tory-lanez-trial-bloggers-gossip-megan-thee-
  stallion-rcna61600

                                                   14
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 15 of 24




                                       15
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 16 of 24




                                       16
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 17 of 24




          48.     Defendant intended these Tweets to intimidate Ms. Pete and any witness that called

  on behalf of the State.12 For example, on her December 13, 2022 Instagram Live session,

  Defendant Cooper called Ms. Pete an “angry black woman” because she supposedly believed Ms.

  Pete had an “attitude” during her testimony. Ms. Pete had no attitude; instead, Ms. Pete’s testimony




          12
             A December 23, 2022 Los Angeles Times Article, titled “A jury believed Megan Thee Stallion.
  It’s shameful so many social media influencers didn’t,” noted that “Milagro Gramz, a Houston-based hip-
  hop news personality who showed no remorse for pushing the ‘Megan might have stepped on glass’
  theory long after a surgeon had found bullet fragments in her foot, just called the verdict ‘one of the
  greatest miscarriages of justice.’” (emphasis added). Article available here (last accessed on October 29,
  2024): https://www.latimes.com/entertainment-arts/music/story/2022-12-23/megan-thee-stallion-
  tory-lanez-verdict-influencers-bloggers.

                                                     17
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 18 of 24




  was extraordinarily difficult for her, as she had to recount the traumatizing events that led to the

  Incident.

         49.      Defendant Cooper continued to spew false statements about Ms. Pete and other

  witnesses at Trial, including in the below examples of Defendant’s posts13:




         13
               https://x.com/MobzWorld/status/1751931257317917171
               https://x.com/MobzWorld/status/1764415237028032810

                                                  18
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 19 of 24




         50.     Defendant’s disparaging remarks had, and continue to have, a negative effect on

  Plaintiff’s mental and emotional state. Defendant’s conduct caused, and continues to cause,

  significant personal and economic harm to Ms. Pete. It injured her reputation and standing as a

  professional musician. It caused severe mental and emotional harm. It caused economic harm in

  Plaintiff’s efforts to remove the various “bots” Defendant enlists to attach Plaintiff’s supporters.

  In sum, Plaintiff’s damages exceed $75,000 exclusive of interest and costs, in an amount to be

  determined at trial.




                                                  19
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 20 of 24




  V.     CAUSES OF ACTION

                                             COUNT ONE

                             Promotion of an Altered Sexual Depiction,
                                 Section 836.13, Florida Statutes


         51.     Ms. Pete repeats and re-alleges paragraphs 1 through 50 as if fully set forth here.

         52.     Ms. Pete is an identifiable person as defined under the statute. Ms. Pete is a

  performance artist who is recognizable as an actual person by her face, likeness, and/or other

  distinguishing characteristic(s).

         53.     The Deepfake Video is an altered sexual depiction as defined under the statute. It

  is a digital, electronic, mechanical, and/or other modification, alteration, or adaptation that depicts

  a realistic version of Ms. Pete with computer-generated nude body parts presented as the nude

  body parts of Ms. Pete engaged in sexual conduct as defined in Section 847.001, Florida Statute

  in which Ms. Pete did not engage or participate.

         54.     Defendant Cooper promoted the Deepfake Video by transmitting, transmuting,

  publishing, distributing, circulating, disseminating, presenting, exhibiting, sending, posting,

  sharing, and/or advertising on her X account. Defendant “liked” an account promoting the

  Deepfake Video, which saved the “like” on her X account. Defendant then encouraged her

  followers to “[g]o to my likes”, where they could access the Deepfake Video via her “liked” Tweet.

         55.     Defendant Cooper willfully and maliciously promoted the Deepfake Video without

  Ms. Pete’s consent.

         56.     Defendant Cooper knew or reasonably should have known that the Deepfake Video

  was an altered sexual depiction.

         57.     As a result of Defendant Cooper’s misconduct, Ms. Pete has been injured in an

  amount to be proven, including reputational damages and emotional injuries.
                                                    20
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 21 of 24




         58.     Ms. Pete is entitled to recover monetary damages to include $10,000 or actual

  damages incurred as a result of a violation of subsection (2), whichever is greater, as well as an

  award of Ms. Pete’s reasonable attorneys’ fees and costs, and a permanent injunction barring

  Defendant Cooper from any future use or publication of intimate visual depictions of her.

                                            COUNT TWO

                                   Cyberstalking Injunctive Relief,
                                  Section 784.0485, Florida Statutes


         59.     Ms. Pete repeats and re-alleges paragraphs 1 through 50 as if fully set forth here.

         60.     Ms. Pete is the victim of cyberstalking by Defendant Cooper because Cooper

  engaged in a course of conduct to communicate, or to cause to be communicated, images by and

  through the use of electronic mail directed at Ms. Pete, which caused substantial emotional distress

  to Ms. Pete and served no legitimate purpose.

         61.     Cyberstalking is a form of wrongful conduct, not speech, which is prohibited by

  Section 784.0485, Florida Statute.

         62.     Cyberstalking is a form of harassment that can be enjoined under Section 784.0485,

  Florida Statute, as well as under common law, which provides for the entry of injunctions to

  prevent harassment.

         63.     Justice, reason, and common sense justify the entry of an injunction for the

  cyberstalking Ms. Pete has experienced in this case.

         64.     Ms. Pete has a clear legal right to the entry of an injunction.

         65.     Ms. Pete will suffer irreparable harm if an injunction is not issued, for which there

  is no adequate remedy at law.

         66.     Ms. Pete has a substantial likelihood of success on the merits of her claim.



                                                   21
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 22 of 24




         67.     The threatened injury to Ms. Pete as a result of Defendant Cooper’s continued

  misconduct outweighs any possible harm that would result from the entry of an injunction.

         68.     The considerations of the public interest support the entry of an injunction.

         69.     Ms. Pete has not made any previous attempt to obtain an injunction for protection

  against Defendant Cooper in this or any other court.

         70.     WHEREFORE, Ms. Pete seeks a temporary and permanent injunction restraining

  Defendant Cooper from committing any acts of cyberstalking against her and providing any terms

  the Court deems necessary for the protection of Ms. Pete, including any injunctions or directives

  to law enforcement agencies.

                                          COUNT THREE

                            Intentional Infliction of Emotional Distress


         71.     Ms. Pete repeats and re-alleges paragraphs 1 through 50 as if fully set forth here.

         72.     Defendant Cooper intentionally or recklessly inflicted emotional distress upon Ms.

  Pete, when she knew or should have known that emotional distress would result, by making social

  media posts related to the Deepfake Video and the statements described above.

         73.     Defendant Cooper’s conduct was outrageous, as to go beyond all bounds of decency

  and to be regarded as odious and utterly intolerable in a civilized community.

         74.     The revilement Defendant Cooper inflicted upon Ms. Pete is explicit and egregious.

         75.     Defendant Cooper’s conduct has caused and will continue to cause severe

  emotional distress, shame, humiliation, and embarrassment to Ms. Pete.

         76.     As a direct and proximate result, Ms. Pete is entitled to recover damages from

  Defendant Cooper, in an appropriate amount to be determined by the trier of fact.




                                                  22
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 23 of 24




                                             COUNT FOUR

                                    Invasion of Privacy, False Light


          77.     Ms. Pete repeats and re-alleges paragraphs 1 through 50 as if fully set forth here.

          78.     Defendant Cooper acted knowingly and/or in reckless regard as to the falsity of the

  Deepfake Video and the false light the Deepfake Video would place Ms. Pete.

          79.     The actions by Defendant Cooper are highly offensive and objectionable, and

  would outrage or cause mental suffering, shame, humiliation, or hurt feelings to a person of

  ordinary sensibilities.

          80.     Defendant Cooper’s conduct was outrageous, as to go beyond all bounds of decency

  and to be regarded as odious and utterly intolerable in a civilized community.

          81.     Defendant Cooper’s conduct caused emotional distress, humiliation, shame, and

  embarrassment to Ms. Pete.

          82.     As a direct and proximate result, Ms. Pete is entitled to recover damages from

  Defendant Cooper, in an appropriate amount to be determined by the trier of fact.

                                            JURY DEMAND

          Ms. Pete requests a jury trial on all issues to be tried.

                                        PRAYER FOR RELIEF

          WHEREFORE, Ms. Pete respectfully requests that this Court enter judgment in an amount

  for all damages owed to Ms. Pete, including but not limited to compensatory damages, punitive

  damages, statutory damages, attorney’s fees, costs, interest, and all other damages as are just and

  proper as well as declaratory judgment to remedy Defendant’s unlawful behavior.




                                                     23
Case 1:24-cv-24228-CMA Document 1 Entered on FLSD Docket 10/30/2024 Page 24 of 24




  Dated: October 29, 2024                   QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP


                                            /s/ Daniel L. Humphrey
                                            Olga Vieria (Fla. Bar No. 29783)
                                            Daniel L. Humphrey (Fla. Bar No. 1024695)
                                            olgavieira@quinnemanuel.com
                                            danielhumphrey@quinnemanuel.com
                                            (305) 402-4880
                                            QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
                                            2601 S. Bayshore Dr., Suite 1500
                                            Miami, FL 33133

                                            Mari F. Henderson (pro hac vice forthcoming)
                                            Janet C. Shamilian (pro hac vice forthcoming)
                                            Julian T. Schoen (pro hac vice forthcoming)
                                            marihenderson@quinnemanuel.com
                                            janetshamilian@quinnemanuel.com
                                            julianschoen@quinnemanuel.com
                                            QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
                                            865 South Figueroa Street, 10th Floor
                                            Los Angeles, California 90017-2543
                                            (213) 443-3000

                                            Attorneys for Plaintiff Megan Pete




                                       24
